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c~           ~. ~                        UNITED STATES
N ~;~`'~~   •~ ~,            SECURITIES AND EXCHANGE COMMISSION                       WRITER'S DIRECT DIAL LINE
                ~o~                NEW YORK REGIONAL OFFICE                           (212)336-0080
                                  BROOKFIELD PLACE,200 VESEY STREET,SUITE 400
    x `~~MxY~`~ ~                       NEW YORK,NEW YORK 10281-1022




                                                                  May 18, 2018

Via Fax and ECF

The Honorable George B. Daniels
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

            RE:       SEC v. Yorkville Advisors, LLC,et al.,(12-CV-7728)(GBD)

Dear Judge Daniels:

        Attached for the Court's consideration is a stipulation of the parties dismissing the action
with prejudice against all Defendants pursuant to FRCP 41(a)(1)(A)(ii). In light of this stipulation,
the parties believe that the conference presently scheduled for May 23, 2018 can be removed from
the calendar. If the Court has any questions, I can be reached at(212)336-0080.

                                                          Respectfully submitted,

                                                                 /s/ Todd. D. Brodv
                                                          Todd D. Brody
                                                          Senior Trial Counsel

cc:                   Caryn G. Schechtman, Esq.(by email)
                      Patrick J. Smith, Esq.(by email)
                      Rodney Villazor, Esq.(by email)
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 UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                              x
 SECURITIES AND EXCHANGE
 COMMISSION,

                               Plaintiff,

         v.                                                          12 CIV 7728(GBD)

 YORKVILLE ADVISORS,LLC,                                             ECF CASE
 MARK ANGELO and EDWARD SCHINIK,

                                   Defendants.
 ----------------------------------------------------------------------x
          STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED,by and between the parties

 and/or their respective counsel that the above-captioned action is voluntarily dismissed

 with prejudice against all defendants pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(ii).

 Dated: May 18, 2018




  y.                         '(               Bv:
 Todd D. Brody                                Caryn G. Schechtman
 Securities and Exchange Commission           DLA Piper LLP(US)
 New York Regional Office                     1251 Avenue ofthe Americas
 Brookfield Place, Room 400                   New York, NY 10020-1104
 New York, NY 10281                           Tel: (212)335-4593
 Tel:(212)336-0080                            Attorney for Defendants
 Attorney for Plaintiff

 SO ORDERED,this                 day of May,2018.



 UNITED STATES DISTRICT JUDGE
